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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SHAWANDA HUTSON,

       Plaintiff,                                       Case No. 14-cv-01674

v.                                                      Honorable John Z. Lee

CHICAGO STEAM BASKETBALL, LLC,

       Defendant.


                    MOTION FOR ENTRY OF DEFAULT JUDGMENT

       NOW COMES the Plaintiff, Shawanda Hutson, by and through her undersigned

attorneys, and in support of her Motion for Default Judgment pursuant to Federal Rule of Civil

Procedure 55, states as follows:

       1.      Plaintiff initiated these proceedings on March 11, 2014 seeking seeking recovery

against Defendant for violations of Title VII and the Illinois Wage Payment and Collection Act.

       2.      Defendant was duly served with a copy of the Complaint and Summons on May

5, 2014, as set forth on the attached Affidavit of Process Server (Dkt. # 11).

       3.      More than twenty (20) days have elapsed since Defendant was served, and it has

failed to answer, plead, or otherwise defend the allegations of Plaintiff’s Complaint.

       4.      Defendant’s failure to defend and deny the allegations of Plaintiff’s Complaint

results in those allegations being admitted and Plaintiff therefore moves the Court for the entry

of Default Judgment.

       5.      Plaintiff, through counsel, has attempted to notify Defendant of this Motion as

detailed in the attached Declaration in Support.
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        WHEREFORE, the Plaintiff , Shawnda Hutson, by and through her undersigned counsel,

respectfully requests that this Court enter an Order of Default Judgment.


Dated: August 27, 2014                           RESPECTFULLY SUBMITTED,

                                                 By: /s/ Ethan E. White
                                                    Ethan E. White
                                                    Michael I. Leonard
                                                    LEONARD LAW OFFICES
                                                    203 North LaSalle, Suite 1620
                                                    Chicago, Illinois 60601
                                                    (312) 380-6634 (direct)
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SHAWANDA HUTSON,

        Plaintiff,                                       Case No. 14-cv-01674

v.                                                       Honorable John Z. Lee

CHICAGO STEAM BASKETBALL, LLC,

        Defendant.


                       DECLARATION OF ETHAN WHITE
              SUPPORTING PLAINTIFF’S REQUEST TO ENTER DEFAULT

        I, Ethan White, declare as follows:

        1.      I am an attorney at law licensed to practice in Illinois, and admitted in the

Northern District of Illinois. My business address is 203 North LaSalle, Suite 1620, Chicago,

Illinois 60601. I am counsel of record of Plaintiff in this matter.

        2.      On August 27, 2014, and contemporaneous with the filing of Plaintiff’s Motion

for Entry of Default Judgment, I caused a copy of that Motion to be sent to Defendant via U.S.

Postal Registered Mail at: 30 East Adams, Suite 600a, Chicago, Illinois 60603, where

Defendant’s President was served on May 5, 2014.

        3.      Defendant failed to respond to Plaintiff’s Complaint and has failed to appear in

this case.

        4.      Defendant is an Illinois corporation with its principal place of business in

Chicago, Illinois.

        5.      I declare upon penalty of perjury that the foregoing is true and correct based on

my own personal knowledge, except for those matters stated on information and belief, and those
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matters I believe to be true. If called upon to testify, I can and will completely testify as set forth

above.

Dated: August 27, 2014                          RESPECTFULLY SUBMITTED,

                                                By: /s/ Ethan E. White
                                                   Ethan E. White
                                                   Michael I. Leonard
                                                   LEONARD LAW OFFICES
                                                   203 North LaSalle, Suite 1620
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